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     16                                   UNITED STATES DISTRICT COURT
                                        EASTERN DISTRICT OF CALIFORNIA
     17                                          SACRAMENTO DIVISION
           UNITED STATES OF AMERICA, ex rel.                  Case No.: 2:15-CV-00799-KJM-DB
     18    DENIKA TERRY, ROY HUSKEY III, and
           TAMERA LIVINGSTON, and each of them for            CLASS ACTION
     19    themselves individually, and for all other persons
           similarly situated and on behalf of the UNITED     [PROPOSED] ORDER RE CLASS
     20    STATES OF AMERICA                                  DEFINITION, PRODUCTION OF THE
                                                              CLASS LIST, PROPOSED NOTICE FORM
     21           Plaintiffs/Relators,                        AND PROCEDURES, AND AMENDING
                                                              THE SCHEDULING ORDER
     22    vs.
                                                              Before: Hon. Kimberly Mueller
     23    WASATCH ADVANTAGE GROUP, LLC,
           WASATCH PROPERTY MANAGEMENT, INC., Trial Date: None Set
     24    WASATCH POOL HOLDINGS, LLC,
           CHESAPEAKE COMMONS HOLDINGS, LLC,
     25    LOGAN PARK APARTMENTS, LLC, LOGAN
           PARK APARTMENTS, LP, and DOES 1-30,
     26
                  Defendants.
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     28

            [PROPOSED] ORDER RE CLASS DEFINITION, PRODUCTION OF THE CLASS LIST, PROPOSED NOTICE FORM AND PROCEDURES,
                              AND AMENDING THE SCHEDULING ORDER - CASE NO. 2:15-CV-00799 KJM-DB
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       1                                              [PROPOSED] ORDER

       2          The Parties came before the Court for hearing on Plaintiffs’ Motion Seeking (1) Clarification or

       3   in the Alternative, Amendment of the Class Definition, (2) Compilation of the Class List, (3) Approval

       4   of Proposed Class Notice, and (4) Amendments to the Scheduling Order on July 12, 2019, in the

       5   United States District court for the Eastern District of California, the Honorable Kimberly J. Mueller

       6   presiding. Based on the hearing, the briefing, the evidence submitted by the Parties, and the pleadings

       7   and other documents provided to the Court in this case, the Court hereby GRANTS the motion.

       8          On July 30, 2018, this Court granted Plaintiffs’ Motion for Class Certification. ECF No. 92.

       9   The Court certified two classes:
     10                   Reimbursement Class: All persons who, in the time period starting four
                          years prior to the date of filing this Complaint through the final resolution
     11                   of this matter, (1) have been tenants at any of Defendants’ California
                          properties; (2) have participated in the “Section 8” Housing Choice
     12                   Voucher Program in connection with their tenancies at the California
                          properties; and (3) have paid additional charges set forth in Additional
     13                   Services Agreements in excess of their individual portions of the contract
                          set forth in the HAP Contracts.
     14
                          Injunctive Relief Class: All persons who: (1) are or will become tenants
     15                   at any of Defendants’ California properties; (2) participate or will
                          participate in the “Section 8” Housing Choice Voucher Program in
     16                   connection with their tenancies at the California properties; and (3) pay or
                          will pay additional charges set forth in Additional Services Agreements in
     17                   excess of their individual portions of the contract rent set forth in the HAP
                          Contracts.
     18

     19           The certification of the Injunctive Relief Class was conditioned on Plaintiffs substituting a new
     20    class representative who has standing for injunctive or declaratory relief within 30 days of the Court’s
     21    order. The Plaintiffs complied with this condition, and Plaintiff Tamara Livingston was subsequently
     22    substituted as the class representative for the Injunctive Relief Class. ECF Nos. 94, 95.
     23           The Court now ORDERS as follows:
     24           (1)     The class period for the Reimbursement Class, as defined in the Court’s order on class
     25           certification and set out above, begins on April 14, 2011, four years prior to the filing of the
     26           initial Complaint in this action;
     27           (2)     No later than July 26, 2019, Defendants shall compile and produce the class list for the
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            [PROPOSED] ORDER RE CLASS DEFINITION, PRODUCTION OF THE CLASS LIST, PROPOSED NOTICE FORM AND PROCEDURES,
                              AND AMENDING THE SCHEDULING ORDER - CASE NO. 2:15-CV-00799 KJM-DB
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       1          Reimbursement Class dating back to April 14, 2011, and the class list shall include class

       2          members’ names and any available standard identifying information and be produced in

       3          manipulable electronic form, such as Excel;

       4          (3)     KCC is hereby appointed as the class action administrator for this case; and

       5          (4)     Plaintiffs’ proposed class notice form and procedures, including the mailing of class

       6          notice by U.S. mail and the proposed 35-day opt-out period, are hereby approved and class

       7          notice is therefore ordered to proceed accordingly.

       8          Further, for good cause shown, the Scheduling Order previously entered in this case on

       9   December 21, 2018 (ECF No. 103) is hereby AMENDED as follows:
     10           (1)     All discovery shall be completed by March 27, 2020
     11           (2)     All counsel are to designate in writing and serve upon all other parties the name,
     12           address, and area of expertise of each expert that they propose to tender at trial not later than
     13           April 17, 2020
     14           (3)     By May 8, 2020, any party who previously disclosed expert witnesses may submit a
     15           rebuttal list of expert witnesses who will express an opinion on a subject covered by an expert
     16           designated by an adverse party if the party rebutting an expert witness designation has not
     17           previously retained an expert to testify on that subject.
     18           (4)     All expert discovery shall be completed by June 12, 2020
     19           (5)     All dispositive motions, except motion for continuances, temporary restraining orders or
     20           other emergency applications, shall be heard no later than July 10, 2020
     21

     22           IT IS SO ORDERED.
     23

     24    _________________________                               ______________________________
           Date                                                    Hon. Kimberly J. Mueller
     25

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            [PROPOSED] ORDER RE CLASS DEFINITION, PRODUCTION OF THE CLASS LIST, PROPOSED NOTICE FORM AND PROCEDURES,
                              AND AMENDING THE SCHEDULING ORDER - CASE NO. 2:15-CV-00799 KJM-DB
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